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 5
     Counsel for
 6   VICTOR S. HALTOM
 7                       IN THE UNITED STATES DISTRICT COURT
 8                IN AND FOR THE EASTERN DISTRICT OF CALIFORNIA
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10
11   THE UNITED STATES OF             )                CR. S-99-433 WBS
     AMERICA,                         )
12                                    )                ORDER
                Plaintiff,            )
13                                    )
     v.                               )
14                                    )
     MINH HUYNH, et al.,              )
15                                    )
                                      )
16              Defendants.           )
     ________________________________ )
17
18          GOOD CAUSE APPEARING, IT IS HEREBY ORDERED that {1} the court
19   reporter shall provide to John R. Duree, Jr. a transcript of the hearing in this case on
20   November 23, 2005, including the sealed portion of that hearing, and {2} Victor S.
21   Haltom shall file a response to this court’s order to show cause on or before February 27,
22   2006. All costs of preparing such transcript shall paid by Mr. Haltrom or Mr. Duree, and
23   shall not be billed to or borne by the court, the court reporter, the government or the
24   defendant.
25   DATE: January 25, 2006
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